                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                 DOCKET NO. 5:13CR72-2


UNITED STATES OF AMERICA                            )
                                                    )
               vs.                                  )              ORDER
                                                    )
PHILIP BRUCE RAZOR                     )
______________________________________ )


       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of this

Court, hereby grants the Government’s Motion To Dismiss, the above-captioned Bill of

Indictment as to Defendant, PHILIP BRUCE RAZOR, without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, and the United States Attorney's Office.



 Signed: August 28, 2014




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